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                           THE UNITED STATES DISTRICT COURT                 U          5 ;T f T r / - ^ y
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                               DISTRICT OF NEW HAMPSHIRE
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            THOMAS DESTEPH


                   Plaintiff


                     vs.
                                                         Docket No.


                                                         COMPLAINT
     GUGGENHEIM PARTNERS,LLC
 SECURITY BENEFIT LIFE INSURANCE
                 COMPANY

                                                         DEMAND FOR JURY TRIAL
                 Defendants




                                       INTRODUCTION


          NOW COMES Plaintiff, Thomas DeSteph,Pro Se, bringing this action against the above

captioned defendants: That Security Benefit Life's administration, under surveillance of Guggenheim

Partners, LLC, has colluded with several oftheir internal sales staff, supervisors, managers,

department heads, and regional vice presidents to sway Thomas DeSteph that all rules, regulations, and

mandates were being followed during the underwriting process of his submitted annuity applications.

(The Compliance Fraud Scheme! That these annuity applications were written on the lives of clients

introduced by the Plaintiff under the pretense ofinformation obtained from Security Benefit Life. That

"The Compliance Fraud Scheme" violated both the federal mail, and wire fraud statutes, 18 U.S.C. §§

1341 and 1343, in that the scheme was intended to fraudulently obtain money from persons through the

use of USPS,and interstate wire communications(the latter through the SBL national website)



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telephone, and email communications from the Kansas City office; and, breached commission

contracts, violated New Hampshire imfair insurance trade practices,(NH - RSA 417:4), used fraud, and

fraudulent misrepresentation in their underwriting process, unlawfully withheld commissions owed to

the Plaintiff, unlawfully reduced commissions bound by written contract owed to the Plaintiff, and

delayed commissions against written contractual agreements. That Security Benefit Life violated

Antitrust Laws, participated in, and promulgated, untruths resulting in the defamation ofthe Plaintiff,

and profited in unjust enrichment. Security Benefit Life, and Guggenheim Partners, LLC violated due

diligence procedure, while profiting from the financial exploitation of a New Hampshire Elder, and US

Army Veteran.


                            PARTIES AND RELATED ENTITIES


                                           A. PLAINTIFF


            1.   Plaintiff Thomas DeSteph("DeSteph")is, and at all times mentioned herein, was a

  resident and citizen ofthe State of New Hampshire. DeSteph has been d/b/a The DeSteph Agency

  since 1979; first in the State of Connecticut, then in 1986, in the State of New Hampshire. DeSteph

  has enrolled teachers, administrators, and their support staff into Tax Sheltered Annuities(TSA)or

  IRS Code 403(b)programs since 1979, and has worked closely with school administrations, ERISA

  Regulations, and Insurance Companies ever since. DeSteph, at one point in the last thirty-five years,

  has had as many or more than twenty agents contracted under his general agency, and, as many

  insurance company broker/agent contracts providing annuities for his clients. For the purpose ofthis

  complaint, it is importemt to note that many ofthe prior mentioned insurance companies continue to

  pay residuals to this day on annuities still on the book of business written by DeSteph; funds

  typically are paid to both. The DeSteph Agency, and DeSteph as an individual. DeSteph is also a

  "Vietnam Era" veteran, and today is a volunteer aiding disabled veterans of New Hampshire.




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                                      B. DEFENDANTS


         2.    Defendant Guggenheim Partners, LLC ("Guggenheim") is a New York limited

liability corporation, with its headquarters in Chicago, Illinois and New York,New York.

         3.    Defendant Security Benefit Life Insurance Company ("SBL") is a Kansas

Company domiciled in Kansas. Security Benefit Life Insurance Company sells its annuity

products in New Hampshire, Massachusetts, Connecticut, and elsewhere throughout the coimtry

through contracted agents. DeSteph was contracted and appointed as an insurance broker/agent

with Security benefit Life Insurance Company since 1979.

                                 C. RELATED ENTITIES


         4.   Plaintiff is informed, and believes, and thereon alleges that Mark Walter

("Walter") was at all relevant time Guggenheim's CEO. It is believed Walter is currently

Chairman, and controlling owner of the Dodgers after purchasing the club for 2.15 billion dollars,

and is partnered with ("Magic") Johnson and others. Walter is also a trustee or director of several

organizations including the parent holding company for Security Benefit Life Insurance

Company.

         5.   Plaintiff is informed, and believes, and thereon alleges that Michael P. Kiley, was

at all relevant time the Chief Executive Officer of Security Benefit Life Insurance Company.

         6.   Plaintiff is informed, and believes, and thereon alleges that Philip Hahn, was at all

times relevant Regional Vice President of Security Benefit Life responsible for annuity sales in

New England; including New Hampshire, Massachusetts, and Connecticut.

         7.   Plaintiff is informed, and believes, and thereon alleges that Cathy Berry, was at all

times relevant an Internal Sales Consultant with Security Benefit Life responsible for sales in

New England; including New Hampshire, Massachusetts, and Connecticut.

         8.   Plaintiff is informed, and believes, and thereon alleges that Marva McKinley, was



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at all times relevant a Business Development Coordinator with Security Benefit Life.

         9.   Plaintiff is informed, and believes, and thereon alleges that Nick Dobelbower, was

at all times relevant an Internal Sales Consultant with Security Benefit Life responsible for sales

in New England; including New Hampshire, Massachusetts, and Connecticut.

         10. Plaintiff is informed, and believes, and thereon alleges that BCleber M. Alves, was

at all times relevant an Internal Sales Consultant with Security Benefit Life responsible for sales

in New England; including New Hampshire, Massachusetts, and Cormecticut.

         11. Plaintiff does not know the true names of Defendants DOES I through 100,

inclusive, and therefore sues them by those fictitious names. Plaintiff is informed and believes,

and thereon alleges that each of these Doe defendants were in some maimer responsible for the

events and happenings alleged in this Complaint, and for Plaintiffs damages.

         12. Plaintiff is informed, and believes, and thereon alleges that at all times herein

mentioned, each of the defendants herein were the agents and/or co-conspirators with each of the

remaining defendants, and in acting or omitting to act as alleged were acting or omitting to act

within the scope of such agency and/or conspiracy with the knowledge, permission, consent,

and/or approval of all defendants, and each ofthem.

                            D. JURISDICTION AND VENUE


         12. This Court has original jurisdiction over the subject matter ofthis action pursuant

to 28 U.S.C. 1332 because(a) defendants reside in several states(New York, Massachusetts,

Illinois, Kansas), and Plaintiff is a citizen of New Hampshire, and(b)the amount of controversy

exceeds $75,000.

         13. This Court has personal jurisdiction in this action as the Plaintiff, Thomas DeSteph

resides in Cheshire County, New Hampshire, was appointed as an agent of SBL in New

Hampshire, Massachusetts, Connecticut, Florida, and other states. And, did business in this state



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enrolling educators in Tax Sheltered Annuities, IRC 403(b), using annuities provided by SBL.

Guggenheim acquired SBL in 2010, and marketed SBL annuities in New Hampshire since the

acquisition. SBL is registered as an insurer in the state of New Hampshire. Philip Hahn, Cathy

Berry, Marva McKinley, Nick Dobeldower, Kleber M. Alves, and Does 1-100 all assisted SBL

in the sale of aimuities in the State ofNew Hampshire, and other geographic areas in New

England, and beyond. Philip Hahn is Regional Vice President of SBL, works and resides in

Leominster, Massachusetts; and, was the direct contact of Thomas DeSteph during the relevant

times herein. Hahn is registered, and has business dealings with SBL in the State of New

Hampshire.

         14. Venue lies in this court pursuant to 28 U.S.C. § 1391 as Plaintiff resides in New

Hampshire.

                               E. STATEMENT OF THE FACTS

         15. Guggenheim Partners, LLC,acquired Security Benefit Life Insurance Company in

2010 after SBL began bleeding money from difficulties ofthe economic turndown of2008, and

the collapse ofthe stock market. During the next two years, DeSteph noticed many changes that

hurt the marketable concepts used while selling annuity products offered by SBL; and,on

February 11,2014, Guggenheim Partners, LLC,and their related insurance companies, including

SBL, were accused of Racketeering, Fraud, and other violations of law.(Cooking the Books)The

accusations where outlined in a class action brought by two policyholders from Illinois.

         16. In part, the class action said:" When Guggenheim, a private equityfirm, swooped

in to exploit the insurance company model, acquiring insurance companies, raiding their cash,

and leaving the long-term obligations ofthe policyholders unprotected. In the mere two years

after taking control ofSecurity Benefit Life, EquiTrust Life, and Guggenheim Life, Guggenheim

ignored thefundamentals ofoperating an insurance companyfor the longterm security ofthe



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policyholders and annuity holders by extracting hundreds-of-millions ofdollarsfrom these

companies, not only depleting their surplus but eroding their reserves, leaving them in a negative

surplus condition - meaning assets are less than required reserves. (See Whitmore v. Guggenheim

Partners LLC.14-cv-00948^


         17. The changes, and following push to infuse SBL with annuity premium were

evident in commvmications with internal sales constiltants, and Vice President Hahn. On several

occasions, DeSteph felt Hahn, and others were becoming overly lenient with rules, regulations,

and underwriting requirements. However,losing a productive General Agent like DeSteph would

damage production, and SBL used every means of deception, fraudulent misstatements,

fraudulent concealment, underwriting oddities, ignored imderwriting due diligence, and

participated in collusion to hide facts of noncompliance to fuel the incoming funds associated

with armuity premium - hence The Compliance Fraud Scheme. Then, SBL breached contractual

agreements in an effort to increase profits by lowering commissions on the most productive

products. When they could no longer conceal their ongoing deception, SBL,through their intemal

sales consultants, mangers, and vice presidents - violated antitrust law, breach of contract law,

and imjust enrichment, to cheat DeSteph of his thirty-five year book of business, and the residuals

that belong to him.

         18. Today,SBL is holding current commissions paid on reinvestment options of

existing policies owed to DeSteph,in violation of agency/agent commission agreement dated,

September 1, 2017, in their effort to offset commissions paid in 2010,2011,2012, and others.

These past commissions were paid on the legal transactions of policy production while DeSteph

was licensed in Connecticut, Massachusetts, and other states. The withholding ofthese

commissions has caused great damage, pain, and sacrifice on DeSteph and his family. Many of

the commissions now being withheld are offset on commissions paid long before a reasonable



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time limitations has expired. SBL has not the contractual right to look back seven or eight years to

offset commissions. The contract between DeSteph, and SBL,signed September 2010,only allow

chargeback on commissions for thirteen months, and only for the withdrawal of initial premiums

by the policyholder paid on the contract/policy at commencement.

                                             F. THE FACTS


         19. Thomas DeSteph, Plaintiff, first contracted with SBL to market annuity and life

insurance products in May 1979. DeSteph was licensed to market these products in Connecticut,

Massachusetts, Vermont, New Hampshire, and Florida. In 1993, DeSteph became a General

Agent with SBL,signing an agreement to introduce other annuity products offered by the

company. However,in early 2000,SBL became stagnate in their effort to compete with other

issuers of annuities, and as a result, DeSteph and other agents, reduced the business being sent to

SBL. DeSteph did maintain the book of business held at SBL. And in 2010, after Guggenheim

acquired SBL, more emphasis was placed on agent support, and once again DeSteph pressed to

offer SBL products as an alternative to other annuities being offered to clients. DeSteph initiated

field underwritten annuities to SBL again taken from a book of business, which had clients that

were approaching end-of-contract annuity provisions with other carriers, and looking for

alternative programs to place their funds.

         20. On September 10,2010, SBL changed the Agent/Agency contract reducing the

Choice Annuity's commissions. "Choice Annuity" was SBL flagship fixed annuity product; and, a

primary tool DeSteph used while setting up retirement arrangements for clients looking to

diversify between traditional joint and survivor plans. The Choice annuity, coupled with a fixed-

premium life insurance policy were hallmark combinations to cover spouses in the event of a

retired primary breadwinner's death. This annuity commission base was the primary residual

income for DeSteph between 2010 and May 2018. Additional premium from policyholders



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received by SBL on prior issued policies, which is before the new commission schedule of 2010,

according to contractual covenants, should have been paid at the old contract rate; however, when

SBL received additional premium,they paid commissions as if it were a new contract/policy. This

was an obvious breach of contract. The additional funds received on older policies were being

added to these contracts under the same contract/policy number, and no changes were made to the

contract; i.e. no additional insured, no change in any provision in the contract only an extended

date ofsurrender charge for that portion offunding, and was under a commission schedule

payable at issue.

         21. DeSteph semiretired in 2012, and surrendered his NH insurance license on

February 28,2012. DeSteph notified non-residence states where he had licenses. Massachusetts

and Connecticut did not take any actions, and DeSteph ceased to prospect for new clients but

continued to service his book of business. A conversation with internal sales consultant, Cathy

Berry, revealed that SBL had no issue with their appointment of The DeSteph Agency or DeSteph

servicing clients in both Massachusetts and Coimecticut.

         22. This approach was an obvious concealment to allow continuing profits generated

by annuity sales, and to keep selling these products and generate more cash being depleted by

their now owner, Guggenheim. Defendant's concealed the truth about state appointments as not

disrupt the flow of cash.

         23. SBL often sent DeSteph emails, telecommunications, and other relays to notify

him a client needed a beneficiary change, address change, and on occasion, papers signed or

forms completed. SBL continued to notify DeSteph ofnew products, new regulations, and each

year asked DeSteph to perform online educational requirements for his appointment. Each time,

SBL needed to verify the appointment status of each state, and each time, SBL insisted DeSteph

was appointed. On December 7,2017, Manager Gigi Harlow emailed DeSteph requesting he



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        assist with a few SBL policyholder issues which he performed.' This duty is considered part of
        the commission paid at the initial submission of business in 2012 on these policies, which is now

        being withheld; which breaches the contract between SBL,and DeSteph - it allows SBL to be

        unfairly enriched by the services rendered by DeSteph without compensation.

                  24. Nicole Nantz, an inside sales consultant at SBL,sent DeSteph Coimecticut forms

        necessary to move a clients funds from one carrier (Insurance Company)to SBL. Before these

        forms were sent, the SBL representative must confirm whether or not the agent is appointed with

        SBL in that state. Once again, SBL continued to reassure DeSteph he was appointed in

        Connecticut. And on May 16,2017, once DeSteph traveled to have the forms completed and

        signed by the client, SBL call center sent an email saying he was not appointed in Connecticut.

        DeSteph called the licensing department to inquire whether he was actually appointed in

        Coimecticut. The licensing department at SBL said,"Of course you're licensed in Connecticut."

        DeSteph then sent an email to Kleber Alves, his inside sales contact asking if he could confirm if

        the appointment was indeed intact. On reply, Alves said,"Let me work on this" - and with that,

        the business was instantly approved. Once again, SBL fraudulently concealed information related

        to due diligence requirements to comply with licensing regulations.(See NHRSA 400-B)

                  25. DeSteph continued to earn his commissions by servicing policies issued by SBL

        paid on prior contracts. Kleber Alves continued to send new product information, and the

        licensing department continued to ask DeSteph to complete online educational tutorials on related

        annuities, and products new to SBL. And, on May 16, 2018, DeSteph submitted a field

        underwritten application for a Choice Annuity on an existing client which was refused by SBL



'It is important to note that commissions paid on an annuity sale, either as a single upfront payment or
 spread over the years as a renewal, are compensation for notjust the initial sale, but servicing ofthe client's
 needs over the years or life ofthe contract. DeSteph serviced the contracts in question for many years.



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new business department claiming DeSteph was no longer appointed in Massachusetts with SBL,

and the license was lapsed in 2014.

         26. However,just two weeks prior to this sudden epiphany by SBL,DeSteph wrote

two applications for the Choice Aimuity worth over $120,000 in premium, the new business

department verified DeSteph was appointed in Massachusetts, and expeditiously issued the two

policies. Funds were being transferred as IRA (Individual Retirement Annuities) rollovers

pursuant to U.S. Code Title 26 Subtitle A Chapter 1 Subchapter D Part I Subpart A § 408. After

the two Massachusetts policies were delivered to both clients, funds began arriving at SBL to be

entered as premium, and commissions are paid. It was at this time that SBL claimed DeSteph was

not appointed in Massachusetts while imderwriting the above mentioned Choice Aimuity. SBL

should have rejected that application on the basis of non-compliance of Massachusetts law,

however, SBL underwrote the application, and dismissed DeSteph as the writing agent. This

resulted in unjust enrichment for SBL by not paying out the commissions.

         27.   Furthermore, SBL sent letters out to anyone with a policy written by DeSteph

from 2012 asking them to pick a different representative to service their policy. DeSteph

negotiated many calls from Clients indicating they did not want to change representatives but

wanted him to continue servicing their individual polices and contracts. They further indicated

they wanted to "Dump" SBL,and found their actions egregious.

         28. SBL didn't stop there, they retracted all commissions paid from 2012 resulting in a

deficit on DeSteph's accovmt in the thousands of dollars, and withheld current commissions,

(DeSteph's only retirement)to recoup commissions paid years ago. This violated signed

agreements from 2010, and letters of change dated September 1,2017.




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                                           H. DISCUSSION


         29. When SBL underwrote annuity policies, they needed to follow Due Diligence

procedures as do all insurance companies. All policies, whether life insurance, health policies,

liability insurance or annuities need to conform to each states regulations and rules. Policyholders

must quality, and in the case of annuities, suitability rules must adhere to the regulations

governing these contracts by law. This protocol affords little room to ignore or skip whether or

not an agent is licensed to sell the product and the underwriter/compliance officer are responsible

to conform to those rules before issuing the contract.

         30. In 2012, DeSteph wrote letters to the Connecticut, and Massachusetts state

insurance offices concerning an incident involving an ex-fiance. Although this was not related to

any insurance matter,the loss of personal property was as risk, including his insurance license in

New Hampshire - neither state insurance office replied to the change in his NH license. DeSteph

then contacted his internal sales representatives at SBL for guidance, Cathy Berry. Berry

consulted with managers and returned with an affirmative acknowledgment to continue writing

incoming funded annuities. SBL made the corrupt decision to put profits before compliance, and

fraudulently concealed the status of DeSteph's appointment; a material fact.

         31. According to now revealed records, DeSteph had licenses to sell annuities in

Massachusetts, and Connecticut through 2014, but SBL had not notified DeSteph until May 2018,

that those appointments expired. The licensing, and compliance departments both receive, and

have access to up-to-date appointment records in each state they are registered. Additionally,

states send insurance companies quarterly appointment updates. SBL received no less than sixteen

(16)reports from both Massachusetts and Connecticut between the beginning of2014 and May

2018 outlining updated appointment records. Furthermore, during imderwriting procedures, SBL

had access to each state online record of appointments for that month, and underwriting rules of



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         due diligence demand verification of agent's license.

                   32. Deliberate indifference is the conscious or reckless disregard of the

         consequences of one's acts or omissions. SBL ignored this obvious rule of underwriting to

         cause the continuance of annuity premium dollars flowing into their general fund. SBL continued

         to request annuity applications from DeSteph along with assigning service duties for existing

         clients. SBL misrepresented their knowledge ofinactive licenses, and concealed the lack of due

          diligence since 2014.

                   33. If a clerk/Data processor alerted an inside sales consultant of an issue with

         licensing, the problem immediately disappeared, and the policy was issued. In 2018 when a new

         compliance representative began overseeing production, and notified DeSteph ofthe license issue,

         SBL claimed they knew nothing about the matter - this, before deciding to withhold all current

         commissions,sending DeSteph into a financial calamity^. This violated signed agreements in
         2010, and reinvestment change letter dated, September 1,2017.

                   34. SBL Had No Authority To Look Back. - SBL is withholding current

         commissions against commissions distributed to DeSteph in 2012 through 2018 claiming they

          were paid improperly. DeSteph was properly licensed in 2012 through 2014, and if not properly

         licensed after 2014, SBL knew,and concealed the noncompliance. SBL had no authority to

          withhold commissions against business dated over six years prior, in fact, SBL had no authority to

          withhold commissions against any paid commissions contractually unless the commissions were a

         chargeback against premium being withdrawn from policies within thirteen months ofissue.

                   35. Looking back over three years in the State ofNew Hampshire is a violation ofthe

          statute oflimitations. In addition, since SBL knew about the license issues, the clock could not


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    Thomas DeSteph is a single father oftwo daughters, and is retired; the fixed income he has relied included
the residuals from SBL.



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toll. Even if SBL denies knowing about the license issue, which they cannot do in light ofthe

evidence, they should have known if they performed due diligence during their underwriting

process. SBL used bad faith means to conceal material facts, they can't now claim any ofthe

withheld commissions.


         36. SBL had violated agent contractual covenants in the past, as when they reduced

commissions in 2010 on future sales, but instead, paid the reduced commissions on past

continuous premium being purchased on existing policies - which is not custom in the industry

nor was it lawful, and it breached the agent contract. In 2018, SBL delayed commissions on

reinvestments for thirty days, paying on the thirty first day after the date of earned commissions -

all against the contract issued to DeSteph. On "Choice Armuity" sales, generally, the contract is

slated for seven(7) years. The client can withdraw 10% ofthe contract value once a year avoiding

withdrawal charges. If any portion ofthe premium is withdrawn within thirteen(13)months,the

agent suffers a chargeback of commissions directly related to the amovmt being withdrawn. The

end ofthe surrender charge period(7 Years), the policy reinvests into several options, one of

which,the client can surrender the policy without any charges or commission chargeback against

the agent. Ifthe client chooses, they can do nothing, and the policy reinvests (Rolls over)into the

identical contract. This is a commissionable event, and SBL has reduced this commission on these

transactions in opposition to commission schedules issued to agents. Most of DeSteph's book of

business fall xmder this scenario; and,these contracts just begim to reinvest when SBL had a

sudden epiphany concerning his licenses. SBL is now holding current reinvestment commissions

against commissions paid many years prior, a clear violation ofthe terms constructed in the

meaning ofthe contract, and schedule of commissions,in violation ofthe statute of limitations,

the doctrine of laches, amd against the standard in the industry.

         37. On May 18, 2018, SBL sent letters to many ofthe plaintiffs clients asking them to



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drop the plaintiff as their representative. SBL asked clients to contact them to pick other

independent agents that have cormections with them. This is in clear violation of antitrust laws,

additionally, SBL told untruths, committed fraud, made negligent misrepresentations, and

defamation against the plaintiff.

                                             G. COUNTS


               COUNT I - MISREPRESENTATION AND COMMON LAW FRAUD
                             RELATING TO PLAINTIFF'S LICENSING


         37. The allegations contained in paragraphs 1-36 above, are repeated as if fully

rewritten herein. Defendants fraudulently misrepresented the status of DeSteph's license to control

the loss of submitted aimuity premium by DeSteph, satisfying their need to replenish funds being

taken after the acquisition of Guggenheim. Concealing whether or not DeSteph's appointment was

current in years 2014-2018 was deliberate and fraudulent, and served only as self-dealing greed.

         38. Defendants had intentionally suppressed, and concealed certain material facts

which they had a duty to disclose to the Plaintiff, DeSteph. Concealing the fact that SBL knew the

appointment for DeSteph in certain states where applications for annuities were being written was

fraud, and knowingly misrepresenting their duty to due diligence to conceal an appointment of

license is in direct violation of New Hampshire Insurance Law,RSA 417:4.

         39. The aforementioned conduct of the defendants constitutes fraud, suppression and

concealment of material facts known to them, with the intent, on the part of defendants, of

inducing reliance, and thereby depriving Plaintiff of property and/or legal rights of otherwise

causing injury, and was despicable conduct that subjected Plaintiff to cruel and mijust hardship

and conscious disregard of the Plaintiffs rights, so as to justify an award of exemplary and

punitive damages.




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                                 COUNT II - COMMON LAW FRAUD

         40. The allegations contained in paragraphs 1-39 above, are repeated as if fully

rewritten herein. In order to recover on a theory of fraud a plaintiff must demonstrate: 1) a

material representation of a past or existing fact which 2) was false, 3) was made with knowledge

or reckless ignorance of its falsity, 4) was made with the intent to deceive, 5) was rightfiilly relied

upon by the complaining party, and 6)proximately caused injury to the complaining party.

         41. Defendants' purposefully, and intentionally made, and omitted misrepresentations

to the Plaintiff to induce him to continue submitting annuity premiums. When DeSteph submitted

annuity applications taken from his client base, SBL intentionally ignored due diligence in

underwriting procedure, knew they were violating state insurance law, and Federal Mail Fraud

Statues when they mailed the competed contract to DeSteph to deliver in another state.

         42. SBL knew what they were doing when they conspired to omit, and hide the fact

they did not renew DeSteph's licenses, and appointments in Massachusetts, and Connecticut. The

premeditated scheme was an attempt to not disrupt the flow of premiums being submitted for

annuity sales.

         43. Defendants' made material misrepresentations by omission, while they were under

a duty to make truthful, affirmation disclosures conceming the disposition of the commissions

owed to the Plaintiff. DeSteph entrusted defendants with his compensation needed to live.

Accordingly, defendants were under an obligation to disclose truthful, accurate information about

his license, and its status. Instead, as described above, defendants made misrepresentations and

omissions.


         44. DeSteph reasonably relied on defendant's intentional misrepresentations when he

submitted commissionable premiums for his clients. Plaintiff was harmed by his reasonable and

detrimental reliance on defendant's false, and misleading conformation of the status of his license



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to submit annuity premiums.

         45. Therefore, plaintiff is entitled to enhanced compensatory damages on his New

Hampshire State common law claims.

                      COUNT III - NEGLIGENT MISREPRESENTATION


         46. The allegations contained in paragraphs 1-45 above, are repeated as if fully

rewritten herein. Without waiving the claim of common law fraud, set forth above, plaintiff

alleges that the defendants' misrepresentations, and omissions were, at the very least, negligent.

Those misrepresentations, and omissions are set forth above. The defendants' conduct, as

described above, was wanton, malicious, and oppressive.


                                 COUNT IV - BREACH OF CONTRACT
                                     New Hampshire Common Law

         47. The allegations contained in paragraphs 1-46 above, are repeated as if fully

rewritten herein. Commissions paid at the onset of life, and annuity contracts not only pay the

broker of the sale, but that compensation pays future service of the policy. The plaintiff has

performed all services needed to preserve the business written on SBL paper including, servicing

provisions of the policy, updating contact information, beneficiaries changes, increases of

premium requests, annuitizing payout procedures, and death claims. These assumed duties are

part of the compensation paid in the initial commission pajonent of the policy. When SBL

withheld current commissions against commissions paid years ago, on May 23, 2018, through at

least the date of this complaint, they dismissed these sales, and servicing of all those policies as if

DeSteph never performed the duties.

         48. SBL actions are inconsistent with reasonable, and justified expectations of the

agreement the parties, and otherwise inconsistent with the standards ofreasonableness.

         49. Additionally, SBL changed the percentage of commissions on future premiums on


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standing policies, which is a violation of the agreement held between the parties. Although it is

contractually acceptable to change the commission percentage on premium paid a on future

policies in writing, it is a violation to change those commissions on current, "in force" policies

which SBL did. SBL had characteristically changed the meaning of a term used in the industry

known as "New Money" - When a policyholder purchases additional benefit in an annuity, the

industry treats the premium as additional premium on an existing annuity, and pays a commission

on those premiums at the same rate as at issue. SBL breached the agreement on existing annuities

by treating additional premium as a new contract claiming the premium started a new withdrawal

period; however, one contract can have multiple penalty periods within the same contract but it is

still the same contract, and therefore should have been commissioned under the contract's agreed

commission table.



                            COUNT V - VIOLATION OF NEW HAMPSfflRE
                              TITLE XXXI - TRADE AND COMMERCE
            UNFAIR,DECEPTIVE OR UNREASONABLE COLLECTION PRACTICES


         50. The allegations contained in paragraphs 1-49 above, are repeated as iffully

rewritten herein. NH - Rev Stat §358-C:l and C:2 prohibits unreasonable collection ofthe paid

commissions on business submitted, issued, and paid. SBL is holding paid commissions in a

perpetual status, and is illegal. Actions against commissions paid over six(6) years ago is

unreasonable, and violates New Hampshire's laws. Security Benefit cannot look back over six years

to satisfy their perception of moneys paid at an3dime is somehow returnable in some future date in

time. Time limitation regulations are enforceable in all actions, and SBL cannot ignore this

regulation at their whim.

         51. This egregious action by Security Benefit caused irreparable harm, and suffering to

the plaintiffs financial, economical, and emotional state. Damages to DeSteph and his family was


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realized within days ofthis merciless act by Security Benefit Life as the plaintiffs accounts payable

were immediately jeopardized; personal income was halted, and the health and welfare ofthe

plaintiffs children were put at risk.


               COUNT VI - NEGLIGENT,INTENTIONAL INFLICTION

                                 OF EMOTIONAL DISTRESS



          52. The allegations contained in paragraphs 1-51 above, are repeated as if fully

rewritten herein. The Defendants, and each of them, knew or reasonably should have know, that

failing to use due diligence, failing to be truthful about the status of the plaintiffs license would

cause plaintiff sever emotional distress. The defendants' failure to exercise due care in dealing

with the parties contract, and the dishonest taking of the plaintiffs commissions paid many years

ago was negligent, malicious, and performed with malice.

           53. Without consulting or notifying plaintiff, SBL sent derogatory, inflammatory, and

untruths to plaintiffs clients causing defamation, and intentional sever emotional distress on the

plaintiff, his family, and his clients.

           54. As a proximate result of defendant's intentional conspiracy to omit material fact as

to plaintiffs license, breaching the party's contractual agreement as it relates to commissions, and

sending derogatory letters to plaintiffs clients, and the consequences proximately caused by it, as

herein alleged above, plaintiff suffered emotional distress, and mental suffering, all to plaintiffs

damage in the sum of$250,000.

                                   COUNT VII - UNJUST ENRICHMENT



           55. The allegations contained in paragraphs 1-54 above, are repeated as if fully

rewritten herein. Unjust Enrichment is an equitable remedy that is available when an individual




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receives a benefit, which would be unconscionable for him to retain. Turner v. Shared Towers

VA.LLC. 167 N.H. 196, 202(2014).

          56. Unlawfully taking back commissions from years ago by withholding current

commissions, SBL has wrongfully received a benefit that would be unconscionable for them to

retain. Retention of the current commissions against commissions paid years ago is a monetary

benefit to SBL that is owed to the plaintiff.

          57. In March 2018, SBL sent a letter to all DeSteph clients offering to close their

respective contracts for a cash value, which does not damage the economic benefit to SBL. Each

of these clients sent the letter to DeSteph announcing first, their discuss with SBL, and second,

asking DeSteph for advice of the value, and validity of their policies. As a result, not one

policyholder surrendered their policies; and therefore, SBL had no lapse policies. This epiphany

demonstrates SBL loss was zero, and commissions owed to the plaintiff were realized as unjust

enrichment.


                       COUNT VIII - VIOLATION OF FEDERAL MAIL


                  AND WIRE FRAUD STATUTES 18 U.S.C.§§ 1341 and 1343

          58. The allegations contained in paragraphs 1-57 above, are repeated as if fully

rewritten herein. SBL violated Federal Wire Fraud, and Federal Mail Fraud Statutes on over thirty

occasions as they misrepresented the license, and appointment status each time they called,

emailed, or used USPS to inform DeSteph he was cleared to submit applications to obtain funds

from the public. SBL knew DeSteph was not licensed after 2014 but continued to encourage his

production from Massachusetts and Connecticut from office in Topeka, and Massachusetts. SBL

sent underwritten contracts to DeSteph at his address in New Hampshire to deliver in both

Massachusetts, and Connecticut. SBL called DeSteph requesting he service certain policies in

both Massachusetts, and Connecticut. All of these acts were in violation of 18 U.S.C. §§ 1341 and



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1343. SBL knew DeSteph was not licensed in Massachusetts, and Connecticut after 2014,

however,they fraudulently misrepresented that DeSteph was in-fact appointed with SBL to solicit

insurance premiums for annuity purchases in hoth states to satisfy their need for funds.



    WHEREFORE,the Plaintiff requests this Honorable Court:

            A. Award compensatory damages in favor of Plaintiff against all defendants for the

damages sustained for the wrongful conduct alleged, and as will be established through

 discovery, and at trial, together with interest thereon.

            B. Awarding punitive damages to plaintiff against all the defendants for the

egregiously wrongful conduct alleged herein.

            C. Grant declaratory and injunctive relief as appropriate.

            D.Grant restitution to plaintiff.

            E. Find the defendants caused emotional duress by acting unreasonable, outrageous,

                       and extreme in their actions.


            F. Find the defendants breached parties contract.

            G.Order other such relief that may be just and equitable.

   JURY TRIAL DEMANDED




                                        Respectfully submitted.
Dated: November 13,2019



                                     By:
                                     Thomas DeSteph,Pro Se, Plaintiff




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